Case 2:14-cv-07964-JAK-RZ Document 7-1 Filed 10/15/14 Page 1 of 20 Page ID #:17




                        Exhibit A
                  .
     Case 2:14-cv-07964-JAK-RZ Document 7-1 Filed 10/15/14 Page 2 of 20 Page ID #:18
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    .... ,,   .




                                                     SUMMO:NS
                                              (CfTACION JUDIC/A.L)
     . N.$..l'1C£ TO--OEE£:ND4NT:
      :~~ALi>~M~i>AtJO):
       CODNTY OF LOS ANGELES;Add:itional Parties Attachment Form is
         Atta$lied.
       YOO AftE aEIN'G SLJ$J SY PLA'fNTtFF:                                                                          herri R. Carter, Ex'tcutive           r/Clerk
       (L,(J·Jt!if'AD:EMMDANC)(JEL O'GMANl)ANTE):                                       .                                   By; Cheri Grant, De

        JANICE STEPHENS, an·individual; ROBERT STEPHENS, an
        indiVidual .                      .
       ·~ · ' lrtCEt You hav:e t;:ee~ suad. The court may decide agai~st you without your being heai:d unless -yau respo11d within 30 wy.S.
       bel6w,
            Y<iii have so CAL!;NPAR DAYS after this summons and· legal papers are served on you to file a written response at this court nd have a copy
                      ..an
      serve(f ·thei,ptai(Jt!ff;..A,1e~r or phone.callwlll not P.rotect:you. Your written response must·be in proper legat fonm if rou Want tti court to·near yaur
      ca!le. "(i:lere ma~ b~ a coulfformthatyou can use fur yourresponse. You can fine the&e eaurt fomts and m:ore li.:lformauon.atthe alifnmla OOmts .
      Online Se1f"1'1elp ce1'ter (WWW.cCrJrtinfo.ca~ {PJvlseJffJ.elp), Y.!i'UI county law libi:ary; or the courthouse nearest YOIJ. rtyou car:mot.~ the filing:~' ask.
      ihe QGurt cietk fof ~.fee Wall/er for:in. If y<:Ju do not file your 11esponse on time, you may lose the case by defaQlt,'and yo1:1r waties, . eney, and proper!y ·
      rnay be taken wiU~o'\.IHur!Aer war.niRg fr.om th$ court.
             Tue~ are other.legal req.tJiremeAts. You may want to call an attorney right away. If you do nmt know an attorney, you may wa ·t to call an attom!!iy
      r¢.ferral sefV!ce. lf you cannot affQrd an at\omey, Yl!IU may be eligible for free legal services from a m:inpro1it 10Qal seniices ·progra • You .CS'R locate
                                                                                                                                                     ip
    • these nonprofit 9teljpi;.att"1e Cafifomia Legal $ilrvices vyeb s.ite (www.law/'Jelpcalifomia ..org), the California c.ol'lrts Online Self"H Center                ·.
      {wwy.t.cowtinf(u;;;r,gQf//selfllfHp), .or by c»ntaellng your lt>cal court or county t)ar association. NOTE': ·The·CQ"!rt l\as a stmitoryJie.· fer wai~cl fees and
      c0at:\on.any settle"1'ielit~r a:rbittatfon•aw.atd ol~to,oeo or more In a civil case. The .reurt's.fien rn1:1s.t.Pe paid-bet.ore.the catJrt \lilll .ismlss tf:ie ca~.
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         · tiene:3o:fJfAS DE CALfi/l!DARtO despues de que le entreguen esta oitacion y paeeles lega/es para presentaruna resp~sta orascrtto en esta
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         en fDlmatfl teg<il OlilrrWtP sf t[esaa qQa pf:ixit3i>en su caso en la CDrte. Es posible qt1e traya1un torrmilarfri qve 11st.edpue(Jf1 ti$ar p!ra siuespuesta.     ·
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         biblioteca.                                    c
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         qutt le '11~ un formulario de.-exend¢n de pago de cuotas. Siono presenta su respuesta a tiempo, puede perder el caso por incump 'mien toy 1a corte.fe
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        pagtlielgriJ'(amen dela-~ antes de qua la car.le pueda desedhar el caso.
     Th~ name arid address:cdt',fue c01drt is:
     (El noinvie y dire'Oct6n Cie Ja .carte es):        Superior Court of Los Angeles
      Los Angeles Superior Court, North District
      42011 4th Stte.e t West, Lancaster, California 93534
     The name, a(ijc;ltess, andtelephone numberofplaintirfs attorney, or plaintiff without an atteniey, is:
    .(El nonibre,. /a r;iirecoi6n y .e l numero de telefono de/ abogado def demand;mte, o def demandante ·que no tiehe a
      JO.OOW'.Nofa.nd,.Esq., 2105().Centre Pointe? Parkway, Santa Clarita, California 91350; (661}


     (Far proof-<;>f service. of' is summons, qse Proof of Service of Summons. (; orm POS-010).)
                                                                                                                                                          v~\GA1"101'
    (Para proeba f}e entrag.a de esta citation use el formulari0 Proof of Service of Summons, {POS-010)).
                                         NOTICE TO THE PERSON SERVED: You are served
                                               1.   D         as an indivldual ~efendant.
                                                    D
                                               2.             as the person sued under the fictitious name of (specify):
                                                                                                                                                 0$'r:m<i- .                   -f
                                               3.   D         on behalf of (specify):

                                                    under:     CJ     CCP416.10(corporation)                        O        CCP416.60 {m or)             1S~CE\~
                                                               D      CCP 416.20 (defunct corporation)              D        CCP 416.70 (   serv~tee)

                                                               D      CCP 416.40 (association or partnership)       O        CCP 416.90 {a tho~ed person)
                                                           CJ other (specify):
                                               4,   D     by personal delivery on (date):
     i'enn Adopts:! fQr MandatQJY (J,.,
        JudiClalC<><lidl of cairomra·
        SIJM-1oQ [Rev. Jtily 1. 2009]
Case 2:14-cv-07964-JAK-RZ Document 7-1 Filed 10/15/14 Page 3 of 20 Page ID #:19




                                                                                                      CASE NUMBER:
      SHORT TITLE:
  _ STEPHENS vs. COUNTY OF LOS ANGELES, et al.

                                                                INSTRUCTIONS FOR USE
     -t    This form may be used as an attachment to any summons if space does r:iot permit the listing of all parties on t 1e summor:is.
     ..... lf~is attachment iS w~ed, jf'lsert the following statement in the pla'intif.f or defendant box on the .summons: "Add tional Parties
          Attachment form is attached."

     J,.Jst additie.nal patttie~ (Check only one box. Use a ,separate page for each type of party.):

       D        Plaintiff           [LI Defendant     D   Cross-Complainant      D     Cross~Oefendant

     LOS ANGELES COUNTY SHERIFF'S DEPARTMENT; SHERIFF DEPUTY DOE l; in bohhis or her
     official capacity and individually; SHERIFF DEPUTY,DOE 2; in both his or her official cap~ city and
     individually; SII:ERlFFDEPU'fY.SUPERVISOR DOE 3; in both his or her omcial capacity i'1:ld
     iJldividua:lly; SHERIFF DEPUTY SUPERVISOR DOE 4; in both his or her official capacity nd
     individually; and DOES 5 through 50, Inclusive.




                                                                                                                        Pag~      1     of       I
                                                                                                                                             PJge1 of1
 FoITTiAdopled for Manaalory Use
   Judldal Council of California                    AO:DITJONAI.,. PARTIES.ATTACHMENT
SUM-200(A) (Rev. January 1. 2007]                          Attachment to Summons
    Case 2:14-cv-07964-JAK-RZ Document 7-1 Filed 10/15/14 Page 4 of 20 Page ID #:20
                                                                                                                                                  .    J
                                                                                                                                                       {


                    1      JOHN W. NOLAND, SBN 190121
                           ROY HUNTSMAN, SBN 185486
          ;~       .2 . LAW OFFICES OF HUNTSMAN • NOLAND
                    3 .: · A Professi()nal Cotporati.on
                           21 OS{lCentre Pointe Parkway
                   4 · Santa Clarita, California 913 5O
                           Tel: (661)291-6217; Fax: (888) 257-1375                                             Sherri R. Carter,.Execurive U111cer1t;1erk
                   5                                                                                                   By: Che . G~nt. Deputy . ·      . .


                   6
                   .7    Attom.eys for Plai11tiffs JANICE STEPHENS and.ROBERT STEPHENS

                   8 .
                                               SUPERIOR COURT OF THE STATE OF CALIFORN
                   9
                                                      FOR THE COUNTY OF ~OS ANGELES
               10
               tt · J~I,CE STEPID,3NS, an individual, ROBERT                            Cas¢No.
               ·        · STEPHENS, an individual,                                                        . MC024                 16.
               12


                                                                                                                               I
                                                Plaintiff,
               13                        vs.
                                                                                        PLAINTIFF'S COMfLAfNT FOR
           14    COUNTY OF LOS ANGELES; LOS ANGELES                                     DAMAGES FOR:
                 COUNTY SHERIFF'S DEPARTMENT;
           15... SFIERlFF:DEPUTY DOE I, in.his or her official
                 capacity; SHERIFF DEPUTY DOE 2; in his or                                     (1)     Violati-On of Fede al Civil R.ights (42
           16 · her. :0-ffi~ial capacity; SJWRIFFDEPUTY
                 SUPERVISOR DOE 3 in his or .her official                                              U.S.C., Section 1~&3), Unreasonable
           17 . capacj.ty;, SHE  .. RfFF DEPU. TY SU~ER. VISOR                                         Search & Seizure]
               · DOE 4; tn his e>r her official capae1ty; and
                 DOES 5 through 50, Inclusive,                                                 (2)     Violation of Ped            Civil Rights {44
           18
                                                                                                                                ell Related
           19                                    Defendants.
                                                                                                      Claims;
          2Q
                        1'1-~~-.,-~~~~~~~~~~~~~~~~~~~~~-.-,1--~~~~~_,




          21
                                Plaintiffs ROBERT STEPHENS ("ROBERT''} and JANICE STEP . . ·. . ("J.Af{JJ,'.!B") .
          2.2 .
                    ·· (collectively,·'•PLAINTIFFS''), alleges as foUows:
          23
          24                                                                   PARTJJS
                                 1.     At all times relevant to this Complaint, PLAINTIFFS were and · ow are individuals
          25
          26             residing within the Antelope Valley, County of Los Angeles, in the State ofC .. ·romia.

          27                    2.      At all times applicable herein, THE COUNTY OF LOS ANGE . ES ("COUNTY")

 ~GA~ .was and is a local municipal public                     entity in the County of Los Angeles, State f California. The

~                       ~                                                                                                  .


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 .   [.
                                      '-..,.--"
                                                                                                                                  ·I

            1 . LOS ANGELES COUNTY SHERIFF'S DEPARTMENT (''SHERIFF") was an now is a public
            2     entity subdivision of COUNTY in the County of Los Angeles, State of Ca.liforni .

            3             3.      At all times applicable herein, SHERIFF DEPUTY DOE 1 was             individual residing,
            4    .on information and belief, in the County of Los Angeles, and an officer, agent, . d:.em:ployee of

            5     COUNTYand SHERIFF. Defendant SHERIFF DEPUTY DOE 1 is sued here:· in his or her official

            ·6    capacity as an employee.

            7            4.      At all times applicable herein, SHERIFF DEPUTY DOE 2 was ·            indiVidual resi~~-~
            8     on informatio_n and belief, in the County of Los Angeles, and an officer, agent, a· d employee of the
            9 . COUNTY and SHERIFF. Defendant SHERIFFDEPUTY DOE 2 is sued herei in his or her official

           10     capacity as an employee.

           11             5.     At all times applkable herein, SHERIFF DEPUTY SUPERVIS · ··· DOE 3 was an

           12     individual residing, on information and belief, in the County of Los Angeles, an ·

           13     and employee of the COUNTY and SHERIFF. Defendant SHERIFF DEPUTY OE 3 is sued herein

           14     in his or her official capacity as an employee.

           15            6.      Atall times applicable herein, SHERIFF DEPUTY SUPER.VIS.                                     ,.
                                                                                                                              ;    .

           16 ' individual residing, on information and belief,     in the County of Los Angeles, ..
          1.7    and employee of the COUNTY and SHERIFF. Defendant SHERIFF DEPl/1.'YSUPERVISORDOE .

          18     3 is sued herein in his or her official capacity as an employee.
          19             7.      Defendants DOES 1 through 50 are sued as fictitious names.; the true nam.es and ·

          20 • capacities being unknown to PLAINTIFFS. When their true names and cap.aci · es are aicertained,
          21     PLAINTIFFS will amend this complaint by inserting their true names and capa ities. PLAINTIFFS ·

          2-2    are informed .and believe and thereon allege that each of .the fictitiously named · EFENDANTS are

          23     .responsible in some manner for the occurrences herein alleged, and those DE

          24     proximately caused,areresponsible for, and/or legally li11ble for PLAJN:TIFFS' damages•·as ~erem

          25     alleged. Each reference in this complaint to "DEFENDANTS," or a specificall named

          26 . DEFENDANT refers to andincludes all DEFENDANTS sued under fictitious a~es~ On
          ·27    infonnation and belief, PLAINTIFFS make all allegations contained in this co .plaint against all
          28     DEFENDANTS, including DOES 1 through 50.
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- ·   I




           1                          8.               Whenever in this Complaint reference is made to any~ctofDEF

           2        allegations shall be deemed to mean all named DEFENDANTS and DOES 1 tbr ugh 50, or their

           3        officers, agents, managers, representatives, employees, heirs, assignees, custo · s, tenants, did or

           4       _authorized such.acts while activefy engaged in.the operation, managemen:t, dire ·-on or control of the
           5       ·affairs of DEFEND ANTS and while acting within the cow:se and scope of their uties, except as

           6        specifically alleged to the contrary.

           7                      9.                  At all times herein mentioned and with respect to the specific ma ers f.l.llegeci in the

           8 .complaint, PLAINTIFFS are informed and believe that each DEFENDANT (in -Iuding.DOES 1
           9       through 50) was a parent, subsidiary, affiliate, alter ego, partner, agent, franchis e, licensee,

          1Q       employee, employer, controlling franchiser, controlling licensor, principal, and/

          11       each of the remaining DEFENDANTS, and was at all times-acting within the c ·
                                              I               .         .
          12 . such age?cy, service, employment, control and/or joint venture, and each DEF                                  . ANT h,as ratipe(l,

          13       approved,! profited from and/or authorized the acts ofeach of the remlllini.ng
                                                                                        .
                                                                                                  DE
                                              .   .
          14       failed to prevent such acts when having the power and/or duty to do so, with
                                              i
          15       acts.

          16
          17                              i
                                                                            GENERAL ALLEGATIONS
                                          i
          18                      l~.                 'In December of 2012, PLAINTIFFS were involved in the cons          ction of a building to
                                          !
          19       be later 'fsed as the couple's business location. At this time, the building had b en framed and

          20       construc~on materials were stored inside. The building is located o:p. PLAINT FS' commer,cial -
                                      I

          21       propercyjat4203512th Street West in the City of.Lancaster.
                                      i
          22                      ~ 1.                PLAINTIFFS were informed and believed that unknown perso            were entering the
                                      I


          23   .
                   buildingJ during the nighttime hours and stealin.g their construction materials.
                           . j                                                                    .
                                                                                                                          LAINTIFF. ROBERT
                                                                                                                                    .   '
                                                                                                                                           .~· /




          24       decided jto stay at the building
                                  I
                                                                     to protect his property.
                                                                                      .
                                  I
          25                  t2.                     Late in the evening on or about December 3, 2012, ROBERT c o led JANICE and ~old ·
                                                         /


          26       her to c4II the SHERlFF and report a break-in at their property. ROBERT tol - her that someone had

          27       entered pieir place and were attempting to steal their construction material.

          28                 13.
                              I
                                                      During the telephone conversation, the telephone line went sile t and JANICE was
                            . ;
                              ;


                                                                                          -3 -
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.~   •·




                      1 afraid for her husband's safety. JANICE immediately called 911 and requested t e SHERIFF send
                  2      deputies to assist her husband regarding the crime occurring atthe business site.

                  3                  14.   PLAINTIFFS are Wonned and believe and thereon allege that d ing the 911

                  4      telephone. caH, JANICE was told that SHERIFF'S deputies were routed to the l ·ation, but CO'fll:d,not ··
                  .5     find it. JANICE was transferred several times over several minutes without th~ · eputies finding tb.e      :

                  6      location.

                  1                  15.   Eventually, c;iuring the 911 call, JANICE became exasp.e rated an(! believed that the
                  ;8 · deputies were not going to find the building or help her husban1. She decided t get into het car and . ,, _

             - 9         drive to the location herself.

                 10                  16.   When JANICE arrived at the loca.tion, SHERIFF'S deputies hadj . st arrived.

                 11      ROBERT had detained the would-be thieves at gun point, and was relieved to se the dep:ufies arrive.

                 12      JANICE stayed at heT car until she was contacted by a deputy and asked t-0 get o t of the car~

                 13              17.       PLAINTIFFS were contacted by deputies and explained what ha .· oceurred.

                 14      PLAINTIFFS expected deputies to detain or arrest the thieves, but they did not. The thieves:were

                 15 . permitted.to put the stolen construction material back where they had found it,          d they were.allowed .·

                 16      to leave. PLAINTIFFS were detained.

                 17             18.        JANICE was placed in the back of a SHERIFF'S car and watche as a deputy

                 18      searched her car, trunk and purse. The deputy found a handgun in her purse.

                 19            , 19.       JANICE was subsequently arrested for possessing a handgun.     an ROB.ERT was
                 20      arrested for detaining the thiev~s with a handgun.

                 21             20.        PLAINTIFFS are informed and believe that DEFENDANTS and e~ch. oftbern, knew

                 22     that there was no probable cause to arrest PLAINTIFFS, but did so as a retaliatOfY act ag~t
             {

                 23      PLAINTIFFS who were upset that deputies let the criminals leave the scene.without recourse.

                 24             21.        PLAINTIFFS are informed and believe arid thereon allege that       . DEFENDANTS

                 25     knew there was no basis for deputies to arrest either of them for any acts prior
                                 /


              26        JANICE'S car and purse. ROBERT was arrested for detaining criminals with a gun despite his

              27        lawfully using reasonable force to detain the suspects on his property who were tealing his property;
             28         JANICE was arrested for possession of a firearm, which was seized during an ·lawful search of her.


                                                                             4-

                               ,_
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                                                                               ....___.




      1 .. property.

      2 .. .       22; .     PLAINTIFFS    ~re infonn~d and believe and thereon allege ~t . fr being                   . .• .
      3    mcarcerated, forced to post brul and retam legal counsel, all charges were d1smrs ed because there

      4   .was neverprobable cause to search, arrest or charge PLAINTIFFS for any -crime

      5
      6                                       FIRST CAUSE Of-ACTION FQR
      7                        VIOLATION OF FEDERAL CIVIL R~GHTS- 42 U.S.C. ,9g3
      8                                tJNREASONAULE~EAJ!CB A,ND SE:lZ!Jl\lE

      9                                (Against-All Defendants, and DOES 1 through 50)

     10           23.       PLAINTIFFS re-allege and incorporate herein as if             set forth in ·   . .paragraphs 1

     11   through 22.
    12            24. ·      Standing: PLAINTIFFS are individuals and citizens of the Unit d States protected by

    1:3   42 U.S.C., Sectio!l 1983. DEFENDANTS, and each of them, acted under color of state law when

    14    committing the acts alleged herein, including intentional and malicious interfer                 ce with

    15 ·• PLAINTIFFS' ·rights of freedom and liberty guaranteed under the United StaWs Constitution.
    15            25.      . Duty: DEFENDANTS, and each of them, have a duty and obligl tionto recogllize and.

    17    conduct themselves in a manner that confirms, provides for and does not violat the protections

    '18 . guaranteed under the United States Constitution, including those under the Fo ·, Amendment, to

    19    include without limitation, the right to liberty as well as the right t-0 be .nee of             ·easonahle -seai'ch

    20    &nd seizure, or as in this cas~, arrest: without any leg.al basis,

    21            26.       Deprivation of Constitution-al Rights: PLAINTIFFS at'.e inform
    22    based on such information and belief allege, that DEFENDANTS, and each of
    23    PLAINTIFFS of their constitutional rights through wrongful and intentional a.c ions and/or failures to-

    24    act as deS:cribed above, evincing a deliberate indifference to the PLAINTIFFS' rights, such conduct

    25    including but not limited to the baseless arrest and incai:ceratioti ofPLAINTIF S.

    26            27.       Knowledge: DEFENDANTS, iilld each of them, acted intentio aUy and/or with bad

    27    faith; and with a willful and conscious disregard of and qallous indifference to- . e PLAINTIFFS'

    2-8   rights when they engaged in the conduct which caused PLAINTIFFS-to                   ~uffer


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Case
  ' · 2:14-cv-07964-JAK-RZ
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         -:.;
 .. .i




            1     PLAINTIFFS al:lege that the actions of DEFENDANTS were punitive, maliciou . and oppr.essive, and ·
            2    were not acting in conformity with the protections provided by the United States Constitution.
            .3           28.      Substantial Factor: DEFENDANTS' deliberate, wrongful and              licious conductand

            4 · .actions and various failures to act were a substantial factor causing the inj.uries t the PLAINTIFFS
            5 . as alleg¢d herein.
            6            29.     Damages: DEFENDANTS~ conduct has caused the PLAINTIFF .to sitffer:d~aies

            7    in an amount to be proven at trial. In addition, PLAINTIFFS have incurred cost .and expense may
            8    incur outside attorney fees, including those authorized by 42 U.S.C., section 19 8, to an extent and in
            9 · · an,.amount subject to proof at trial. DEFENDANTS' wrongful conduct as alleg d was intentional,

         10      done with malice, in conscious disregard of, or.with callous indifference to righ and liabilities of~ ·

         11      PLAINTIFFS.
         12
         13                                          SECOND CAUSE OF ACTION
         14                        VIOLATION OF FEDERAL CIVIL RIGlfIS- 42 .u.s~c.. 963
         15                                          MONELL-ULA~DCLA,lM.§

         16                             (By Plaintiffs Against COUNTY, and DOES 1through50

         17              30.     PLAINTIFF re-alleges, and incorporates herein as if set forth in · 1, paragraphs 1
         18      through 29, above.
         19              31.     COUNTY is a person within the meaning .of 42 U.S.C. 1983 an
         .20     liability. Monell v Department of Social Services (1978) 436 U.S. 658. CO              · 's employees ~Q.
         21      agents, and each of them, acted under color of st.ate law when committing the aets alleged herein, in
         22      violation .o f the PLAINTIFFS' rights.

         23              32.     Duty: COUNTY, by and through its supervisory ·and policy m               empfoyees and
         24      agents, had a duty to PLAINTIFFS at all times to establish, implement and foll w policies, ·

         25      procedures, customs and/or practices (hereinafter referred to as '~practices") w ch confirm and

         26      provide for the ·protections guaranteed PLAINTIFFS under the United States C nstitution, in.eluding .·.
         27 · those under the Fourteenth Amendment, to include without limitation, the prot ction ofliberty

         28      interest; the right to procedural due process; to use reasonable care to select, as ign supervise, train,


                                                                       -6-
                                                       Plain.tlff's complaint f6r Daiiiitges
     Case 2:14-cv-07964-JAK-RZ Document 7-1 Filed 10/15/14 Page 10 of 20 Page ID #:26
           '.
~-    ' .•,.f




                 1     control   and review the activities of all their age!lts, o~cers., empl9yees and thos. · acting under them,
                 2     so as td protect the coristitution.al rights; and refrain from acting with deli.berate indifference to the

                 3
                                                  ~L-            s~                              and~  al!e~d ~·
                                                                                                  mfo1 and helieve, and
                       cons1itotiO!!W righ·_ts..of AINTIF. FS.· . as to >µJt ca.u.se the filiun.··_s
                               33.     Depnval!On of Constitullonal Rights: PLAlN'flFFS are
                       based on tmch information and belief allege, that DEFENDANTS, and each of             tlem; including.those
                 6     DEFENDANTS sued in their official capacity who had supervisory and/or polic making ~uthority,

                 7 . and each of them, deprived PLAINTIFFS of their constitutional rights through
                 8     intentional actions and/or failures to act evincing a deliberate indifference to PL        TIFFS' rights;

                 9 · . such wr011gful conduct including but not limited to:

                10 .             (a) DEFENDANTS' deliberate failure to es~blish, implement anclfollo.

                11               and proper Constitutional policies, procedl,ll'es, customs and practices, 4 ·spite their
                12               knowledge thatthe lack of such training and policies were the moving fi:

                t3               constitutional violations alleged hereinabove and a substantial factor in ·

                14            infiicted onPLAINTIFFS;

                15            (b) DEFENDANTS' knowing failure to accord the PLAINTIFFS proee
                16            process;

                17            (c) DEFENDANTS' knowing failure to properly select, assign, supervis , train, control

                18            and review its agents and employees as to their r,pcogni-tion of and co~p iance with

                t9            constitutional safeguards and the PLAINTIFFS' rights;                                 .   ·.   ..



                2Q            (d) DEFENDANTS' deliberate indifferenc7 to and intentjonal, knowing failure to .

                21           .discipline its agents and employees who violate constitutional rights or onunit

                22            wrongful acts;

                23            (e) attempting to intimidate the PLAINTIFFS with arrest without prope          justification;

                24            (f) The-policy of using trickery, fabrication and/or f~se testimony and/ .evidence; and
                25            in failing to disclose exculpatory evidence, in preparing and presenting eports and

                26            court documents to the Court, causing interference with the PLAINTIF

                27            including those as to freedom and liberty;

                28            (g) By actirQi with deliberate indifference in iJnplementing a policy of i adequate


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     Case 2:14-cv-07964-JAK-RZ Document 7-1 Filed 10/15/14 Page 11 of 20 Page ID #:27
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                             1              tr;;iihing, anrl/or by failing to train its officers, agents, employees and sta actors, in

                             2              providing the constitutional protections guaranteed to individuals, includ ng those

                             3              under the Fourteenth Amendment;
                             4·             (h) By acting with deliberate indifference in implementing.a policy of in. dequate

                             5              supervision, and/or by failing to adequately supervise ,its officers,,. a.gen:     employe~s

                         e                  and state actors, in providing the constitutional protections guaranteed to individuals,
                             7 .            including those under the Fourth and Fourteenth Amendment\\>. The fore oing list is

                         8                  n-0t eXhaustive due to the pendihg nature of discovery and the privileged . d protected _

                         9                  records of DEFENDANTS' investigative proceedings.

                      10                    34.     Knowledge: PLAINTIFFS are informed and believe, and based n such information

                      11 _ and beli~fallege that DEFENDANTS, and each of them, and those DOES sued . n their <>ffidal

                      14            capacity who had supervisory and/or policy making authority, knew and/or wel' . deliberat~ly .

                      13            indifferent to the probability that by breaching the above mentioned <lu:ties and - bligati<>ttS that
                      14            DEFENDAN.T S would, and did, cause the PLAINTIFFS to be injured. which i ·posed tangible

                      15           burdens on PLAINTIFFS' rights, and procedural due process, all such rights                  anteed -under the
                      16           United States Constitution, Fourth and Fourteenth Amendments, and 42 U.S.C. 1983.

                      17                   35.     DEFENDANTS, and each of them, breached their duties and ob igations to the

                      18           PLAINTIFFS by, among other things, failing to establish, implement and follo . the correct and

                      19           proper Constitutional policies, procedures, customs and pr.actices; failing to pro erly s~lect,

                   20              supervise, train, control, and review its -agents and empl-0yees as to their comp · : ce with

                    21 . Constin.rti-0nal safeguards; and by permitting their agents and employees to eng ge ih the unlavvful

                    22             and Unconstitutional conduct as herein alleged . .

                   23                      36.     DEFENDANTS, and each of them; knew, or should have kno

                   24              the above-mentioned duties and obligations it was foreseeable that they would, and did, cause the

                   25              PLAINTIFFS to be injured and damaged by their wrongful policies, or delibe te Jackther.eof. or

                   26              deliberate indifference to the need for such policies and/or training, and_other          ts ·as alleged betciP.,

                   27              and that such breaches occurred in contravention of public policy and tl;i<;:ir leg .

                   28              obligations to the PLAINTIFFS.


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    Case 2:14-cv-07964-JAK-RZ Document 7-1 Filed 10/15/14 Page 12 of 20 Page ID #:28
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                                                                                                                         I
         1             37.   These actions, and/or inactions, of DEFENDANTS, and each of ·

         2   force behind, arid direct an.d proximate cause of, the PLAINTIFFS damages, an .

         3   PLAINTIFFS have sustained general and special damages, to an extent and in ··

         4   . proven at trial. In addition,..PLAINTIFFS have incurred, and will continue to in · ur, attorneys' fees,

         5 .. costs and expenses,__including those as authorized by42 U.S.C. Sectionl9:88, to . extent and in an

         6   amount subject to proof at trial.

         7
         8
         9                                                    PRAYER
        10             WHEREFORE, PLAINTIFFS pray for judgment as foll?_ws:

        11             1.    As to all DEFENDANTS and each of them as to all causes of act on, PLAINTIFFS

        12   demands a jury trial as to _the issues so triable;

        13            . 2.   As to all DEFENDANTS and each of them as to all causesofac on, .general damages

        14   and special damages according to proof;

        15             3.    As to all DEF'l;':NDFANTS and each of themas to all causes of a tion; attorneys' fees

        16   pursuant to 42 U.S.C. Section 1988 and any other appropriate state civil right cl ·ms and penalties;

        17             4.    As against all DEFENDANTS and each of them a.S to all causes faction costs of suit

        18   inc-uved herein; and
        19             5.    As against all DEFENDANTS and !l?ach of them as to all causes faction such further

        20   relief as the Court deems just and proper.

        21
        22
        23
             Dated:   t I'X)'\'\'-1                                                                 +NOLAND


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        24
        25                                                                            · ,ESQ.
                                                                        ey for the Plaintiffs
        26
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                  Case  2:14-cv-07964-JAK-RZ Document 7-1 Filed 10/15/14 Page 13 of 20 Page ID #:29
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                                    ..MNUNGADDRE$:                                                                                                                      JUN    OS 01:4 ~
                                    CtTYANtlllPCooe:      Lanqas.ter, California 93534                                    Sherri R. Carter. E                                                             ~
                                        "c"·.··.""H.NAME: NortJ;i DistriCt                                              .                 · xecut                                          e   L.
                             i-...~---=""~""'"""'" '""""'=-..,...........,.,.,........,.....~_,,,-------------~-------i           By: Cheri Gr                                                      ' " ~"•11,,;ier1<
                               CASI!: l<JAME:                    • .                                                                                                               ant, Deputy
                               S~       !lens vs. Coun of Los An el:es, et al.
                                    ·OlVlL:CAs:S '¢:0V~ SH!ISET ·                                        complex case oes1gnaflon                       CASE NUMBE;R:    U
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                             .0·      u,niim-ited
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                                        demanded                       dem<:1nded is                Fifed with first appearance bydefendaot
                                  ~CEieds $25,000)                     $2!?;0QDor less)                 (Cal Rules ofC:qurt; rule3.402) .
                                                                                                                               OEPT:
                                    ·    ·        ···     .. lte~s 1~6 b.elQW m1.1st be compleff1d('see iristrµo'tions on page 2)~
                             1. Check onebox.belciw.fer the case .typ~ thaf best·deseribes this ca$e:
                                   Autb· 'F.Grt .                                               Cpr:itratt                                     Prov1slenally Comp.1(1-x CMI LI lgatlo.n
                             / D .Auk> (22)                                                 .   0       Br€ach of contract/warranty (06)       (Cal. R·u1es of Court; r.ul11s ~;lf . o...a;.403)
                                   0       U,AinsUted motorist(46)                              D       Rule 3.740 collections (fl9)           D       An!itr.ust/Trade regula~o~ (OZ}
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                                              Asbestos (04)' . ·
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                                                                                           B.&al Property
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                                                                                                                                                       above listed pf'ollisionall complex ease
                                   .t.(l)n•Pi?PDIW.O {Otber) Tort                               D Wrongful eviction (33)                               types (41)
                                ·o .   .. . . Buslnesit tortAmfair busine.ss practice (07)      D Other real property (26)                     Enfar<le111(1nt of Jud.g ment ·
                                   CZJ        Civil righfs ({!S)                           Unlawful Detaln11r                                  D       Enforcement of juC:lgmen (2.0}
                                   D          Deiamat)on (13)                                   0 Commercial (31)                              Miscellaneous Civil Complain
                                   D          Fraudc1ei                                         D Residential (32)                             D       RIC0(27)
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                                   D        Other rtoJ'l.PliPD/WD tort (35)                     .    . · Asset forfeiture (05)
                                                                                                                                               D       F'artnershlp and corporat ·-goveman<;e {21)
                                                                                                D       Petition re: arbitration award (11)
                                                                                                                                               D       Other petition .(not ~pea d above) (43)
                                                                                                0      Writ of mandate (02)
                                                                                                       Other judfclal review {3_9,
                            2. • .Thi~ .C<lse ·         . is       .     is not       complex under rule 3.400 of th~ California Rutes of Court. lf the case .is                       mplex, mal'k the
                                   f.;lc.tors requiring exceptienal judicial management:                                                           ·                           ·
                                   a:   0      l,atge number of separately represented parties                       d.   0      LafQ<i! number of.witnesses
                                   b.   D      Ext~nsiv.e motion practice raising difficult or novel                 e.   D      Coordination with related actions -pendin - in .one or more cburts
                                               iss~s tfi'\atwill be time-conswning to resofve                                    in other-counties, sta,es, or countries, or a fed~ral court
                                   c. D        Substantial amount of documentary eviaence                            f.D         Substantial postjudgment judicial supervi ion..

                            3. Remeaies sGught (check a/f that apply): a.[Z] monetary                              b. D nonmonetary; declaratory                                               c.   [2J punitiv~
                            4. NUniberof.c;:iuses of action {speoify): Two .(2)
                            5. . Tbis .case     is  D .           0
                                                            is not aclass action suit.
                            6. lfthererare any known related cases, file and sewe a notice of relat .
                             Date: May 3Q~ 2014
                            Jo:hn W. NoI~nd
                                                               . PE; oR PRINT NAME)
                                                                                                                  NOTiCE
                             ~ Plaintiff must file this. cover sheet with thp first paper filed in th.e acti¢1A or ptoce.edi
                                                                                                                    (-exet;ipt small ctaims cas . s or cases filed
                                under the Probate code, Family Code, or Welfare and Institutions Cod:e). (Ca1. Rules ofC0urt, rule 3.22Cl:) Fai ur-e to file- may.result ·
                                in sanctioRs..                                                                                   -   •                                             ·
                             • F.Ue:Hiis cover .s heet in addition to any cover sheet required by local court rule.
                             • If this cas~ is ~mpl~ under rule 3.400 et seq. of the California·Rules of Court, you must serve a copy of this
                               other paffies to the action or pr-o:ceeding.
                             • Wife.$ tfiis is a CQllE!ctiMs case vnder rule 3; 740 or a complex cas.e, this cover sheet wiU be used for statisti
Case 2:14-cv-07964-JAK-RZ Document 7-1 Filed 10/15/14 Page 14 of 20 Page ID #:30


                                                                                                                                                                CM-OfO
                                   IN$TRUCTIO~S ON HOW TO COMPt.ETEZ THE OQVER SH~IET                                  .
   To Plafiltiffs ijnd Others ~iling Ffrst :Paper$. If you are filing a first paper (for exarnpie, a C;Qmpiaint) in a c 11 case, y:ou must
   ccimpJete.and file, along WTttl your first paper, the Civil Case Cover Sheet contained on page 1. ThiS information Will                 used to oomplle
   stati~tlcs .about t.he tyws and numbers of oases ffled. You must complete items 1 through 6 on the sheet In item , you must check
   cme. box fur the case type that best describes the case. If the case fits both a general and a more specific type of c 1se listed in Item 1,
   cheok;the more specific qne. If the case has multiple causes of action, ch:ecl$ the box that best indicates the prima cause of action.
   ro assist Y.Oll in comti~tin9 tf:ie sheet, examples of the cases tttat belong under each oase type in item 1 are pn:ivi .d below. A .cover
   Sheet must be fited only wjftr your initial p;;iper. F<!ih:iire to file a coversheet with the fin~t paper fifed iff a civil case ay subject a party,
   its counsel, Qr .t:>otb to S¥1nc.tions under rules 2.30 and 3.220 of the California Rules of Court.
   T9 Pa1!tJ.,!i~ lb ~!:de 3.740 Collections C;tses. A "collections case" under rule 3.74(} is defined as an action for _r;ov-ery of money
   o,w6d-irlt a sum stated ~~ b~ ¢f;irtaffi that.is not more than $25, ooo, excfusiYe ·ofinterest and.attomey'sfees; artsjag.fF m~ ·trcif!saction in
   which pr~perty; . i;ervlces, ormoney was a(:quired .en credit A collections oase -does not iho!ude an a:ction:seeking: e fo~loWlng: {1) tort
  .cjaM. .s, (2) punitive <;lamages, (3} reoovery of real property, (4) recovery of pers.011at .property, or (5) a p 1lidfim~ Writ of
   arutetmient '{1le identifk:at!on of a .case as a rule 3.740 collections. case on this form mea1ts t!l<it lt will be. exem tfrom the gi:meral
  time.-forcs.ervice requirements and .case management rules, unless a defendant files a responsive pleading . .A n:H: 3.740 coll&,ctiens
  ca-St9 will be subject to the requireinerris for seivJ6e amfobtaining a judgment in rule 3.740.                           .                   . ..
   Ti> P:ar-ttes in Pomp!e.x cases. In complex ~ses oflly, parties must also use the Civil Case Cover SheF# to de ignate whether the
   ~ is Op.mpfex. If a pJainf.;ffbelieves the case is complex under rule 3.40.0 of 1he Ca1ifornia ~ules of Court, this                · 't b.e iridtcated by
   completirrgi the·aPpropciate, baxe~ in ite.ms 1 e1nd 2. If a plaintiff designates a case as oomplex, the cover sheet               mu
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   com.plalilt ·.Gin .au paf'tles .to .the action. A defendant may fil~ and serve no .tater than· the time of its fir.st :appeara'·· ce a Joindet iii                the
   plaitltiff'S 11leslgnation, a counter...clesi9Aation _that the. case is not complex, or, ff the plaintiff has made no desi9Mtlo · , a destgnatibR that
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                                                                     CASE TYPES AND EXAMPLES
 . At1.t o i'ort                                      Contract                                              Provlslpnafl)' Compl~ .MlL.it19atlo11 (Cal•
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                                                                                                                                          · · ..o;.:\3,4.05')
       . A~o (.22}-Personal IS:.jury/Pr.operty            Breach of Contrac!/Warranty (06)
                                                                                                            Ru'lesAntitft!sVTrade      ~{l · latlon (03)
           · Damage,:Wrongful Death ·                         Breach of Rentalllease
         Urilnsu~ed Mot<>n"st { 46) (if tlie                      Contract (not unlawful detainer                    eon&~ctioJ:i-,DEifi   ·· (10)        ·
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               m9totist claim subjeot to                      Contrac!/Warranty·Breach-Seller                        Securities { ltig!;!tiO {2~
              artiitratlon, cheQI< '1/'111$ item                  Plaintiff (not fraud or n't§ligence)               Envtronmer:llalfl'i e Tort (20)
               irrster:rdofAut<>)                             Negligent Breach ofCol'ltrat;t/                        lnsuram~e Cove~         e Claims
  Ofhl;lr l'ill>iQfWDlPer.io:pal ltljuryl                         Warranty                                               ·(arising fromp visl6na/ly complex
  PrQ~ify.· DailU!flfl/W.r:Orr9M.'fleii.th).                 Other Breach of Contract/Warranty              .          cqse type list& · aoove} (41)
  Tott                         .                         Collections (e.g., money owed, open                    Enforcemeri.t of Juq ent
      Asbestos (04)                                          book accounts) (09)                                   Enforcement of Jt1 .· ment (20)
          Asbestos Property Damage                           Collection Case-Seller Plaintiff                          Abs.tr<u:t of Ju gmeflt (Out of
                                                             Other PFOmissory Note/Colledions                                 Coi:m\y) .                   ·
         Asbestos i;>ersona1 ICJJµryl
                 WreogJul Death                                   Case                                                   Confession of .udgf11ellt (non-
      Product uai.;mfy (i1ot. a:sQestQs or               Insurance Coverage (not provisianally                                dcimestic 1ations)
          toxicle11t1iro1U11eptal) ·(24>                       complex) (1.8)                                            Sister s~e J dgrnent
      Medical Malpr;u;tice (45)                               Auto Subrogation                                           Adfniro~lri!ltive Ag~n,ey. Award
     . . Mediqil.Ma!praotice-                                 Other Coverage                                               . (not 1111pai: taxes}- ·
                 Ph¥iiici;:lns·& Surgeons                Other Contract (37)                                             Peli~9ryieerfit1      on of ~try of
         Other ProfeSiilo®J Health Care                       Contractual Fraud                                              JUdgmeut .n t)npatc:l;Tax{ls
       .       · Malpractice                                  Other Contract Dispute                                    ·Other !:nforoe . entof Judgment
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       Other Pl/PO/WO .(23)
           Premises Uabllily (e.g., slip                 Eminent Domain/Inverse                                 MlsceJlaneo.us ·civil
                and fall}                                     Conoemnation (14)                                     ~iCO (27}
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                                                                                                                         abo.v~) (42)       ·
                (e.g., as!'atdt, vandalism)              Other Real PropeftY (e.g., quiet tltle} (28)
         · lntentlonaUnt\iction of                            Writ of Possesslon·of Real Property                        06QJl!(atory ~ UetOnly
                i;mollcmal Distress                                                                                      litjUhc;b~ Rei fOilfy (Ron-
                                                              Mortgage l"oredosure
           NeiJUgen(lnflioti:cm 'o f                                                                                          haJaSSffl ntj
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             · ·E;motienal Ofstress                          Other Real Property (not eminent                            Me<;ha.F1les ' n
          Other Pl/PDJWD          .                          domain, /andlordltenant, or                                Other·eomm .i:dal .C<>mplalnt .
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        Practice (07)                                    Commercial (31)
                                                                                                                Miscellaneous Civil. etltlo:n
     CMl.Ri9.hts {e,.g., discrimination,                 Residential (32)                                          Partnership and orporate
         false arr-est) (not civil                       Drugs (38) (if the case involves illegal                       Governance · 1)
          harassmenQ,:(08)                                   drugs, checkttils item; otherwise,                    Otner Petition (no specified
     Defamalfon {e.g., slander, libel)                       repo;t as Commercial or Residential)
           (13)                                                                                                         above) (43)
                                                     Jadlcial Review                                                    Civil Harass · ent
     Fraild{16)                                         Asset Forfeiture (05)             .                             Wo'*P1ace Vi ·lence
     IMfelll!ctual Property (19)                        Petition Re: Arbltr;:itlon Award.(11)                           fEl<!et/Oepen ent:Adult
   . Professir;ltiill Negfigem:e (25)                   Writ of Mandate (02)                                                 Afiuse ·.
        t,.egal Malpractice                                  Wrifl.--Administrative Mandamus                            Election Con st
        0ther Professlon;il Malpractice                      Writ~Mandamus on Limited Court
                                                                                                                        Pet!ti.on forN me .Change
              (not medk;al or legal) ,                           case Matter                                            Petition tor R lief From Late
      OU1er Non..Pf/Pt:!/WD,tort (35)                        Writ-Other Limited Court Case                                   Ci aim
 Employment                    ·                                Review                                                  Othe• Civil P titian
     Wrongful Termination (36)                          Other Judlclal Review (39)
     Otner Employment (15)                                   Review Of Health Officer Order
                                                             Notice of Appeal-Labor
                                                                Commissioner A ~Is
 CM.010(Re~ Jllly 1, 2007)                                                                                                                                      Page2of2
                                                         CIVIL CASE COVER SHEf;T
Case 2:14-cv-07964-JAK-RZ Document 7-1 Filed 10/15/14 Page 15 of 20 Page ID #:31
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     Sl10Rl"l'ITL'!l; --                                                                                            - CASE ·NUMBER
                    Stephens vs. LO:.$ An,9etes County, et al.


                                                      Cf.V.JL CASE COVER SHE:c T .AQO,ENDllM' AN:O
                                                                   STATEMENT Of LQ;CATJOO
                     (CERTtF-tCAT~ OF GROUNDS FOR ASSliG:MiMENT· TO COURTHOIJ:Sf                                                                      L.OCJt!ION}
                Thi$ f.Qnl'!.i$. rf:q;uired pursuant to Locat Rule 2.0 in aH new civitcase filings in the Lo~ Ang.etas S4 ertor Court..

      lfl;!m J. -Cheek the ty~es -ofheari~ l!lnd fill in the estimated length -of hearing expectedfor this case:
         JURYTRIAL?           ~     YES     CLASS ACTION?      0      YES LIMITED CASE?             DYes          TIME E.STIMATiOD FOR       TRJAJ...;.7--;~D~o!.lou~:R~s~1~EJ.......o"""AµY~s
      1-tein IL Indicate-the correct distt'.ict and courthouse locatien (4 steps - If you checked ''.Limited Case", s~i to Item Ill, Pg:. 4):


         S·~ 1: After fifst campleti-ng the Civil Case Cover Sheet form, fi'nd the main Civil                                  Case Cover Sheet                  - ~-din.g for your
         ~.~in 1f'ie Ieft margin below, and, to the ri9ht in Column A , the Civil Ca e Cover Sheet oos.e type ye.iii - Jeotect

         Step 2: Ch:eck one Superior Court type of action in Column B below                                         ich best describes the natuqe of this case.


         Step 3;   In Column C, cir-cte the reason for the court location choice that applies to the type of aotict~ :ou have
         checked. - F~r any ~xo~ption to the court l(Ycation, see Local Rule 2,Q-. -
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                                    .App:f:iGa:ble Reasom! for Choosing Courthouse Loe tiOfl fse-e                            Col1un11 <:·bef()W~
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         Step 4: Fill .ih th.e information req:uested on pag.e 4 in Item 111; complet                             Item IV. Sign the de,claratlan




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                                   Auto (22)             [J   A71QO Motor Vehicle • Personal lnjli!cy,.1:1perty Oal!l!lageNVrongfut oealh               '       - 1., 2..   4.
        Qt:
       :l   0
       <""'                Uninsured Motorist (46)       0    A1110

                                                         0 - AGO;~ Asbestos      Pn;ip~rty Damage         ---,                                                   2.
                                Asbestos (04)
                                                         O A7221 Asbestos - Personal lnjury/\Nro.nfful Death                                                     2.

                             Product Llablllcy (24)      O A7260 Product       U~bility (l'lot asbestos o1 toxl91'erwironrnental)-                               1 ••-2., .3., 4., 8.

                                                         Q    A721 O Medical Malpractice -    Physlcial'I~ & Sur9eons                                           1.,4.
                           Medical Malpractice (45)
                                                         D A7240 Other ProfessiOnal Health' Care           f     alwtactlce                                     1.,4.

                                                        0 "-A7250 Premises Liability (e.g., Slip aildjall)                           -       -    -
                                   Other
                                                                                                                                                                1.• 4.
                               Personal Injury           O A7230 IAtenUonal Bodily lnjury/P-ropert Damage
                                                                                                        - /Wrongful Death (e.g.,                             - 1., 4.
                              Property Damage                         assal:llt, vandalism, etc:)    __                                  .   - _
                              -Wrongful Dea-th                                                                                                                  1., 3.
                                                         0    A7270 Intentional Infliction ofErnotiana Distress
 i                                   (23)
 I                                                      -D    A7~2o .Olli.er Personal !njury1Property damage/Wrongful Death                                     1:, 4.
 I                                                                  -                           -· - r           -· - --
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I    LA_CIV 109 {Rev. 03/11 )-                         C1Vfl CA.S'E CO~lEJ~ $:H.ttl!T115P.ENOUM                                                             Local R.Ule 2.0
I    LASG Approved 03-04                                  ANO STATEMeNT OF-l0JpATION                                                                          Page:1 of4

II                                                                                                     l
Case 2:14-cv-07964-JAK-RZ Document 7-1 Filed 10/15/14 Page 16 of 20 Page ID #:32
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 SHORT TITut:          .     .          .               .            .                                                 CASE NUMBER
                    · .Stephens        vs. Los Ang.eles County, et al.
                       , -·-- -- ----- ----- -·r- --- --·------ - - --= -- -- ---                                                 --- --------1'.·          ----- -- --~--      --   :
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                                  Business Tort (01)                 0     A6029 Other Commercial/Business ToFt (not fraudtOreacho.f contract)             1.• 3.

   ~i
   ·ll' ·t--o                      Civil Rlg~ts (08)                 gJ    A6005 Civil Rights/Discrimination                                              1.,2.,€) ·
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   i!
   "C?'&
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                                   Defa.mauon (13)

                                      Fraud   dm
                                                                     0     A6010 Defamation {slander/libel)

                                                                     D A6013 Fraud {no contract)
                                                                                                                                                          1., 2., 3.

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    U) ·-..._.
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    Al · c:JJ'
                                                                     D A6017 Legal Malpractice                                                            1., 2.. 3.
   0.. cu.                 P-rofesslonal Negligence (25)
    =s
    0
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              ...
                                                                     D A6050 Other Professional Malpractice (not medical or le!Jal)                       1., 2.,3.

                                      Other{35)                  0         A6025 Other Non-Personal lnjucy/Ptoperty. Pain11ge tort                        2.,3.
                                                                                            .. . .
        i:·                 wrnr.igru1 ierm'if.iatfori (36) ·    [) A6037 Wrongful terrninatiO~                                                           1., i.,.3:
        ["'
     ..2
      .Q.
                                                                 D A6024 Otller E;mployment Complaint Case.                                               1.. 2., 3.
      ,e                     Other gmployment (15)
        w                                                        0         A6109 Labor Commissioner Appeals                                               10.

                                                                 D A6004 Bre;i¢h of Rentaltlease Contrar;t (<ilot an lawful detainer or Wrongful
                                                                                                                                                          2.,5.
                                                                         eviction)
                       Breach of Contract/ Warranty                                                                                                       2.,5.
                                    (06)                         D A6008 Conttaif!Warranty Breaeh -Seller Plair.itiff (no fraudtne~Jigence)
                             {not·insurance)                     0        A6019 Negligent Breach of Contract/Warranty (no fraud.)                         1.. 2.. 5.
                                                                                                                                                          1., 2., 5.
                                                                 0        A6028 Other Breach of Contract/Warranty (not fraud or negligence)
     .....u
      J;                                                         0        A6002 Collections Case-Seller Plaintiff                                         2.. 5.,6.
     ·c                            ColleoUoms (09)
    ·o                                                           0        A6012 Other Promissory Note/Collections Case                                    2.. 5.
     (..)

                            Insurance Coverage (18)              D A6015 Insurance Coverage (not complex)                                                 1., 2.,5., 8.

                                                                 D A6009 Contractual Fraud                                                                1., 2., 3., 5.
                                 Other Con.tract (37)            0        A6031 Tortlous lntetference                                                     1..   2~   3.. 5.
                                                                 D A6027 Other Contract Dlspute(not. breach/insurance/fraud/neglig,en~)               1.. 2., 3., 8.

                            Emiflerifoo~lntlnverse ·.            0 .· A730G Eminent Domain/Condemnation                  ·Jllumberofparcels~          2.
                                 Ccind'emii.ation (j4~ ·
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     a.
      o·
    a..
                             wrongful E\ii.ction (33)            D M023 Wrongful Eviction Case                                                        2.:a.

    :
    0:                      Other Real Property (26)
                                                                 D A6018 Mqrtgage Foredosure
                                                                 0        A6032 Quiet Title
                                                                                                                                                      2.. 6.
                                                                                                                                                      2.,6.
                                                                 D A6060 Other Real Property (not eminent domain, landlord/tenant, fore.closure)      2.,6.

                     • uniaWf,Wr·oetafiiei-'Commera'iik [j
     ...
     Al
                                    (31)
                                                           A6021 Unlawful Detainer-Commercial (not drugs or wrongful evfotion)                        2.,6.
     c

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    Q
                      Unlawful Det<1i11er-Resldentlal
                                   {3'2)                         0        A6020 Unlawful Detainer-Residential (not drugs or wrongful eviction)       ·2.,6.

    i.!!!                        Unlawful Detainer-
                             Post-For~closure   (34)
                                                                 0        A6020F Unlawful Detainer-Post-Fore<;losure                                  2.,6.
    :§
                      Unlawful Detainer-Drugs {3S)               0        A6022 Unlawful Detainer-Drugs                                               2·. ,6.



 lACIV 109 (Rev. 03/11)                                         CfVtl CASE C:OVER SHEET AtU:H$N!DUM                                                Local·Rule 2:0
 lASC Approved 03-04-                                                     ANO STAl'iSIVIEN1" ()F Ld:CAlftiN                                          Page 2 of4
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:·,.: . _,: .... ~.. , . - .\.2:14-cv-07964-JAK-RZ                                    Document 7-1 Filed 10/15/14 Page 17 of 20 Page ID #:33                                                                   i
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         ·. SHORTTJM                                                                                                                             CASE NUMB.ER
                              Stephens          vs. Los Angeies County, et al.
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                                         ASset l'°Qrfeit!lre (05)                 0    A6 1-08 Asset ForfeftHre Case                                                  2 .• ~.

                    i:              Petiijor:t r.e Arbilt<ition (11)              CJ A6115 Petition to CompeVCorifirmNacate Arbitra.tian                            . 2.r5.
                    11>
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                  ~                                                               0    A6t5·1 Writ - Administrative Mandamus                                          2,.8.
                  ti
                  ,,.,:2
                    :11·
                                       Writ of Mandate (Q2)                       0    A6152 Writ - Mandamus on limited Court Case Matter                              2.
             .< ...,.                                                             D A6153 Writ - Other Limited Court C;;tse Review                                     2.

                                    Oth~r   Judicial Review (39)                  D AG150 Other Writ /Judicial Revi.ew                                                2., 8.

                    s:I           Afiiitrust/T~de Regulation f03} D                    A6003 Anfitrus.t ffrade Regulation                                             t,.-2., .8.
                    0
                  ii.
                 . Cl.
                                    Construction Defect· (10)                     D A6.007 Construction Defect
                  ·=><
                  -J.
                                                                                                                                                                      1., 2., 3.

                    <I>·           Claims lnvolvliig.Mass Tort
                  "ii                                                          D A6006 Claims Involving Mass Tort                                                     1,,2.:,-6.
                                                  (40)
                  -E
                  O·
                  u                 Securiti.e.s L-itigation {2.8)            D A6035 Securities Litigation Case                                                      1;, 2., 8.
                    >."
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                  c                           TqxicTort
                    D                                                         D A6036 To>clc Tort/Environmental                                                       1., 2., 3., 8.
                  "iii                   EnvirQni'flerital (30)
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                  i
                  a,.              lnsvranee ·coverage Claims
                                     ttqmCo~prSJ<        c:ase
                                                        (4.1>                 0        A6014 IRsurance Covera:ge/Subr-0gatlon (complex case only)                     1., 2., 5., 8.
                                                                       .. .                                                                                                            ..   .
                                                                              Cl A6141 Sister State Judgment                                                          2., 9.

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            .c c
            CD· Cll
            i;:          Ei                 Enforcement
                                                                              D A6160 Abstract of Judgment
                                                                              D A6107 Confession of Judgment (nori=!lomestic relations)
                                                                                                                                                                      2.,6.
                                                                                                                                                                      2.• ~.
            ~i
           ~-         -,
                                          of Judgment (20)                    0        A6140 Administrative Agency Award (not unpaid tax-es)                          2., 8.
           e-..=-
           w   0                                                              D ·A6114 Petition/Certificate for Entry of Judgment Ori Unpaid TaJC                    2.,8.
                                                                              0       A6112 Other Enforcement of Judgment Case                                      2.,8.,9.

                                              RIC.0 {2i)                      0       A6033 Racketeering (RtCO) Case                                                  1.• 2., 8.
            Ui        .!!
            It!        c
           · o 'iii"·
            Jll .
                      ii.                                                     D A6030 Declaratory Relief Only                                                       .'1.,2., 8.
           ==· e
            ·C
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                        0
                                       Othe.r Complaints.                     D A6Q40 Injunctive Relief Only (not damestic/har:assmenf)                             2,, 8.
            fi  (..)
            0 · -                  (Not Specffied.Abeve} (42)                 D AG01.1 · Other Commercial Complaint Case (non-tort/non-complex}                     1., 2., 8 .. ·
           ·:§· 2
                      Q
                                                                              [j A6000 Other Civil Complaint (non-fort/non-complex)                                 1., 2 .. 8;
                                                  . .
                                    P.aftriershij:iC'oipo(atfon ·
                                                                              0       A6113 Partnership and Corporate Governance Case                               2., 8.
                                       Governance (21)


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                      c
                                                                              D A6121 Civil HarassITTent                                                            2.,3., 9.
            Q       D                                                         D A6123 Workplace Harassment                                                          2., 3., 9.
           cCUI · ;e
                  -

           -~. ~.                     · Other Petitions
                                                                              0       A6124 Elder/Dependent Adult Abus_
                                                                                                                      e Case                                        2., 3:, 9.

            JL~                      (Not .Specified Ab0ve}
                                              (43}
                                                                              D A6190 Election Contest                                                              2.
           ==       0                                                         D A61 10 Petition for Change -0f Name                                                 2., 7.
                                                                              0       A6170 Petition for Relief from.Late Claim Law                                 2., 3., 4., 8.
                                                                              D       A6100 Other Civil Petition                                                    2.,9.




         LACIV 109 {Rev. 03/1t)                                        CIV1'L CAS·E CO-VE;R S:HiEET AD~Q;feNQUM                                                  Local Rule 2.0
         LASC Approved 03>-04                                             · AND STATEMENT Of: :LOCATfON                                                            Page 3 of4
    Case
     ·; ....... ...2:14-cv-07964-JAK-RZ Document 7-1 Filed 10/15/14 Page 18 of 20 Page ID #:34
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     SHORT TiTIB:                                                                                                   CASE NUMBER
                     8te.ph.ens vs. Los Angeles County, et al.



      lt~ fll, S:taternentof L.ocation: E;nter the address of the accident; party's res-idence or place ofbusiness, pe .· rmance, or other
      circuhistan-e:e.Jndioated in Item 11.,       8t-$:p 3 oh Page 1, as the pro.per re a.son for filing in the court location                   ou s.elected.
                                                                                               ADDRESS:
         R~-aoN; Check th.Ii llP.PFoprJate boxes for the numbers shown
      · 110.d~r!Oo1umn C for ttr~ty,p.i'I ofaetiG>.fl trtatyali have selected fbr              42035· 12th $!Fe.et.West
        ·fhlS. C<!Se•                •

                  Cl1. 02. 03. 04.Da.06. 07. 08. 09.010.
       CITY:                                           STAT-E:            ZIP CODE:

      Lancaster                                       CA                 93534


      ltetn w~ Dei;faration of Assignment I declare under penalty o.f pe~ury under the laws of the State of California thattf;te foregoing i$ true
     allG correct arrct that the a:bove-entltred matter is properly fifed for assignment to the Anteklpe                          V'<;!Uey       urthouse in fue
      NOrt.h                        District of the Superior C@urt of California,· County of
      Rute 2.0. subds. (b), (e} and (d}).




      Dated: May 30, 2014




     P!J;ASE l:iAVE. tHE FOlLOWitlG ITEIVIS COMPLETED AND READY TO BEFH.,EPIN.OROER TOP· · Pl$RLY
     OOMfm$NCEYOU~NtWeG>U~T CASE:

             1.     Origin:aJComplaint or Petition.

             2.     If filing a Complaint, a completed Summons form for issuance by the Clerk.

             3.     Civil Case Cover Sheet, Judicial Council form CM-010.

             4.     Civil Case Cov~r Sheet Addendum and Statement of Location form, LACIV 10:9, LASC Approve 03-.04 (Rev.
                    03111).                                                                               .

            · 5.   Payment in full of the filing fee, unless fees have bee.n waived.

             6.    A signed.-0rder appointir'l:g the Guardian ad Litem, Judicial Council form c1v~01 O, if the p1aintiff Qr . etitioner is a
                   minor under t8 yeafSofag:e will be required by Court in order to issue a summons.

             7.    Additianal·eopfes of dor;:uments to be conformed by the Clerk, Copies of the cover sheet ancl thi addendum
                   must be served alon9 with the summons a Rd complaint, or other initiating pleading in the case.




     LACIV 1Q9 (Rev. 03111)                        CtVIL CAS.e COVER SHSET APOi,NOlJ'M                                                       l.l.ooal
                                                                                                                                                   Rule 2.0
•    LASC Approved 03-04                                   A_ f,,l.iO
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        Case 2:14-cv-07964-JAK-RZ Document 7-1 Filed 10/15/14 Page 19 of 20 Page ID #:35
                                                       _.OS ANGELES COUNTY SHERIFFS DEPARTMENT
                                                             SERVICE OF PROCESS NOTIFICATION
                                                                       (PLEASE TYPE OR PRINn



  FROM:      PERSONNEL AND TRAINING DIVISION                                            4900 Eastern Avenue, Suite 102
             CNIL LITIGATION UNIT                                                       Commerce, CA 90040-2900        (213) 890-5400


 TO:         S. ROBERT AMBROSE, ASSISTANT COUNTY COUNSEL .                              648 Hall of Administration
             COUNTY COUNSEL'S OFFICE                                                    Los Angeles, CA 90012

                                                                      DOCUMENT SERVICE INFORMATION


 Defendant     Los Angeles County Sheriff's Department                                                                                       has been seived by the
                                                        \Clllployee t; Ni:llrle clllU Number) (•)
             Jan_ice Stephens, et al. ·
 Plaintiff - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - under Court Case#
                                                                                                                                                     MC024616
                                                                                                                                                     -~
                                        (Name of Person Suing)
 originating from   Los Angeles Superior                                                                                                           Court, alleging the employee:
                                                                               (Name of Court)
(List basis for suit) _ _C_i_v_il_Ri_.. : :g:. . h_ts_;________________________________________




                                                           Denise Doering, Operations Assistant III #267514
 (*")SWORN Department employee accepting service:       ---------------;:::--:::-:-:;-=--.-=-:,.,.-,-::,-:::-:-:;,.--------------
                                                                                                          (Name I Rank I Employee #)

 Date and Time ABOVE employee accepted service:          09/23/14@ 1220 Hours

                                  4900 South Eastern Avenue, Suite 102, Commerce, California 90040
 Location Process was served:
                                                                                           (Complete Address of Unit I Location)
                                                                 09/23/14
 Date Defendant being served ACTUALLY received service:


 Reason for delayed service:
                                - - - - - - - - - - - - - - - - - - - - - . , . . - - - - - - - - - - - - - - - - - ( V a c a t i o n IF-day, etc.)

                                                             MANNER IN WHICH SERVICE WAS MADE (Check appropriate box)

        Personal Service to Defendant/Employee(CCP415.10)
                                                                                       By personally delivering copies to EACH PERSON being served.


        Substituted Service-Other (CCP415.20b)                                         By leaving copies FOR EACH person served at the dwelling/house, place of
        (Part I)
                                                                                       abode, or usual place of business, in the presence of a competent member
                (This service MUST be made to a person 18 years of age
                                                                                       of the household; person in charge of the persons office/place of business.
               and the general nature of th.e papers must be explained)


D       Substituted Service
        (Part II)
                                                                                       AND thereafter mailing (by First Class-prepaid postage) copies to the person
                                                                                       served, at the place copies were left.


D       Mail and Acknowledgment (CCP 415.30)
        .,.. DO NOT MAIL OR SIGN THE NOTICE OF ACKNOWLEDGMENT.
                                                                                       By mailing (First Class or Air Mail - Prepaid) copies to EACH person being
                                                                                       served with TWO copies of the Notice and Acknowledgment and a return
       THE NOTICE OF ACKNOWLEDGMENT SHALL BE FORWARDED TO                              envelope, postage prepaid, addressed to the sender.
        RISK MANAGEMENT BUREAU- CNIL LITIGATION, WITH A COPY OF
       THE SUBPOENA-




Distribution of forms shiJll be: (Refer to Manual of Policy & Procedures Section 5-071280.00)
- One copy to Risk Management Bureau, Civil Litigation Unit WITH a copy of the subpoena
- One copy to be retained by Employee's unit
- One copy to concerned Division Chief

(*) A separate form SHALL be completed for EACH person being served.
(*") Only sworn SUPERVISING PERSONNEL, Watch Deputy & Above shall accept services.


IMPORTANT NOTE: The Department and/or Employee, has ONLY 20 days to respond to Federal lawsuits and ONLY 30 days to respond to
                State lawsuits. ,IJ the response is not received within this time period, the defendant is found in OEFAULT and will
                be ordered to pay·dat'i1ages.


768595F - SH-Ch348 (Rev 8191)
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.......
          Case 2:14-cv-07964-JAK-RZ Document 7-1 Filed 10/15/14 Page 20 of 20 Page ID #:36


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            TQ .J46:f>.LAUrftlff:($)JAITORNl;Yf ) POR P.l.AfNTIFF(S) oF ·~ec . RO:

          . Yqu.are ordererl to serve this notice.of hearing Ol'l all parties/attorneys of record forthw-ith, and me,et and co.nfe with all
            parfie~attorney-$ of record about the matters -to be discussed no later than 30 day5 before ~he C~se Ma!'lag.eri:i tConferei}ce.
             .         ~·     .           .                                .                                 .                                                       .·        .      .     .

            '(oar-Case Manj:lgemeflt Conference has bE)eo scheduled at the courthOIJ~e address sbown atiave on: .


                                      .           J1-1D-23-!'=fTI-'/?~0 ~i\10]                                                                    · ·•

            NOTICE TO DEFENDANT:                    THE SETTING OF THE . CASI; MANAGeMENT OONFERENCE DOES N '!EXEMPT THI:
                                                               DEFENtlAN-T FROM FIUNG A RESPONSIVE PLEADING AS RIEQU.:!RED BY LAW.

                                                                                                                     a
            Pq~uant 't() O.aJiromla .Rules of Court, rules 3.720--3.730, oompletecl Case ~niag~f1lent Statemel'lt (J1;t ial Co.unetl form #
            cM.:.ttQ} ·!TIUSt'be -filed at ~east , 15 '¢alentl!i!r dafS' prio( to the C.a~e M~agemel'it c~nfemaoS, The Ca$e M . . .. ' ent S~emerit
            may be: flied jolr:rtLy by all _parties/attorneys of}ecord or Individually by 9ilcll patiy/attofl:ley or reconitYou ni"sf e tamrliat With the
           ·case anc! befuQy prepali~d          to partlqipate effectiv.elv in the Case ManageC!'lent conference, ·
           At.the Case Manage~nt Conference, the Court may make pretrial orders iricluding ttie toiJowlng, buf not~mlted to, an order
              ·. bli_·s.ihillg a (liscoyery..sched_.ule; an otcter refe.mng the ease to Altemati:ve Ois'plute Resolution (AOR); an ord reclaasifying. the
           esta
              _
           ~se; a.n ofd'er settii-lg subsequent conference and the {fiat date; 1)r other ordera to achieve the g.oals of · iiial Court Delay
           R8(ff.1¢tipri
             . .          ... Act.(Gov.
                                   .·   Code, § .&8600 etseq.)  ._ .
                                                                     ·.      ' .         ·                 ·                              .             ..

            Notice is hereby giv.en t~at If you do not file the Case Matiagement Statement or appear and effectiVely ppi .
           . MaJ!!iiiSt!Jne.nt ¢ontetence, the CQurt m~y impose sanctions, pursuant to LASG L~ait Rule .7.13, Code . f CMI PID(:EiQ!P'e
             sections 171'.5, 515.2; 583.1!50, 583.3$0 and 583.410, Gov.ernmentCO(feseotion.68~08, sll~i!li$ion.(~); and · alifornia Ri..ite8 of

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                                                                                                                                           <(o ·~·. ·                                                                    ·
                                                                                                                                                 Judicial Officer
                                                                                                                         ..                      ..
                                                                                                       C&RTIFICATE OF SERVICE

           (, the below name!il Executive Officer/Clerk of the above-entitled ·court, do hereby certify that I am ·not a arty l9 :ttie cause
           herein, and t!iat oh .this data I Served the Notice of Case Management Confer.erice upon ~ch party or <Xian . . ,riamed
                                                                                                                           .    .,
                                                                                                                                   below:

           D     by c:;lepositin_g In .tl):& United States m~ll at the courthouse In .                   CalifQJ'tila, on&' . opy Qf the original
                 filed herein in a separate -$ea led envelope to each address as shown below with the po$Q~ thereon· fully pi:epald.

           O     by personally giving the party notice upon filing of the complaint.




           Dated:           JUN 0 3 2014
                                                                                                           -
           1.ACIY 1~2 (Rev. 09"/07)                        NOTf'CE OF         .·:                                                                                                                         rt, rules.3.72D-3.730

           LASC )I.pp roved 10-03                   ...-   .:· .
                                                  CASE MANAG&MENT Ctl'NFERENCE
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